    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 1 of 8 PageID #:197




3078567-JKS/SLM
6288632/6346125

                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ANTHONY LEE,                                         )
                                                     )
                      Plaintiff,                     )
                                                     )
               V.                                    )      NO. 1:25-cv-01772
                                                     )
WEXFORD HEALTH SOURCES, INC.,                        )
MARLENE HENZE, DIANNA KUCERA,                        )
MITCHELL MCGLADDERY,                                 )
HELEN BRUCKNER,                                      )
EILEEN COUTURE,                                      )
                                                     )
                      Defendants.                    )

    DEFENDANT MITCHELL MCGLADDERY’S RULE 12(b)(6) MOTION TO DISMISS
               COUNTS IV AND X OF PLAINTIFF’S COMPLAINT

        Defendant Mitchell McGladdery (“Defendant” or “Nurse McGladdery”), by and through

his attorneys, AMUNDSEN DAVIS LLC, and pursuant to Fed. R. Civ. P. 12(b)(6), hereby moves

to strike and dismiss Counts IV and X of Plaintiff’s Complaint at Law. (ECF 1) As set forth

below, the Court should grant Defendant McGladdery’s Motion to Dismiss pursuant to Federal

Rule of Civil Procedure 12(b)(6) because Plaintiff fails to comply with the federal pleading

requirements under Rule 8, and with the requirements of the Illinois Code of Civil Procedure,

735 ILCS 5/2-622. In support thereof, this Defendant states as follows:

   I.      Introduction

        Plaintiff alleges that from March 16, 2023, to June 23, 2023, he was denied proper and

prompt medical care for self-inflicted burn injuries. (ECF 1) Specific to this Defendant, Plaintiff

alleges in Counts IV and X that Defendant Mitchell McGladdery was deliberately indifferent to



                                                1
      Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 2 of 8 PageID #:198




and recklessly disregarded Plaintiff’s serious medical needs, as well as alleging that Defendant

McGladdery committed nursing malpractice. As a result of McGladdery’s allegedly negligent

nursing care, Plaintiff alleges he suffered “unnecessary and prolonged pain and ultimately lost a

limb.” (ECF 1 at ¶ 247)

           Counts IV and X of Plaintiff’s Complaint fails to set forth facts sufficient to state a claim

under Rule 8 of the Federal Rules of Civil Procedure and does not put Defendant McGladdery on

notice as to the nature of the claims made against him. Moreover, Count X of Plaintiff’s

Complaint sounds in medical negligence, which is conceded by Plaintiff through his attachment

of a physician report pursuant to Section 5/2-622 of the Illinois Code of Civil Procedure. (ECF 1-

5)    The report attached to Plaintiff’s Complaint, however, fails to satisfy the statutory

requirements of a § 2-622 report, making dismissal of Count X of Plaintiff’s Complaint

appropriate.

     II.      Standard of Review

           When considering a motion to dismiss for failure to state a claim, the court accepts the

plaintiff's allegations as true, and construes all inferences in favor of the plaintiff. Chapman v.

Chandra, 2007 WL 1655799 (S.D.Ill. 2007) citing Hishon v. King & Spalding, 467 U.S. 69, 73

(1984). Dismissal pursuant to Rule 12(b)(6) is appropriate only “if it is clear that no relief could

be granted under any set of facts that could be proved consistent with the allegations.” Id.

However, the court is not bound by a plaintiff's legal conclusions set forth in the

complaint. Nelson v. Monroe Reg'l Med. Ctr., 925 F.2d 1555, 1559 (7th Cir.1991).

           A sufficient complaint need not give “detailed factual allegations,” but it must provide

more than “labels and conclusions, and a formulaic recitation of the elements of a cause of

action.” Bell Atl Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1964-65 (2007); see also



                                                    2
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 3 of 8 PageID #:199




Killingsworth v. HSBC Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007). In order “to form a

defense, a defendant must know what he is defending against; that is, he must know the legal

wrongs he is alleged to have committed and the factual allegations that form the core of the

claims asserted against him.” Stanard v. Nygren, 658 F.3d 792, 799 (7th Cir. 2011).

   III.      ARGUMENT

             a. Plaintiff’s Second Amended Complaint Fails to Comply with Rule 8 of the
                Federal Rules of Civil Procedure, and Should Be Dismissed.

          Plaintiff’s Second Amended Complaint violates Rule 8 because it is not clear which

specific defendants committed which specific acts. Rule 8 requires the complaint to contain “a

short and plain statement of the claim showing that the pleader is entitled to

relief.” FED.R.CIV.P. 8(a)(2). Moreover, “[e]ach allegation must be simple, concise, and

direct.” Id. 8(d)(1). The purpose of Rule 8 is to give defendants fair notice of the claims against

them and the grounds supporting the claims (See Killingsworth v. HSBC Bank Nev., N.A., 507

F.3d 614, 618 (7th Cir. 2007); see also Faulkner v. Loftus, 2018 WL 1181980, p. 12 (C.D.Ill.

2018). Pleadings must be straightforward under Rule 8(a) to prevent judges and adverse parties

from trying to “fish a gold coin out of a bucket of mud.” Hudson v. JP Morgan Chase Bank,

2020 WL 3066615, p. 3 (C.D.Ill 2020) (citing U.S. ex. Rel. Garst v. Lockheed-Martin Corp., 328

F.3d 374, 378 (7th Cir. 2003)).

          In this case, Count IV of Plaintiff’s Complaint alleges that Defendant McGladdery “failed

to conform to basic standards of medical care,” made treatment decisions that “were a substantial

departure from accepted professional judgment, practice, and standards,” “persisted in a court of

treatment known to be ineffective,” and “chose easier and less efficacious treatments without

exercising sound professional judgment.”        (ECF 1 at ¶ 189-192)       Count X of Plaintiff’s




                                                  3
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 4 of 8 PageID #:200




Complaint alleges only that Defendant McGladdery “breached her [sic] duty to provide

reasonable care to [Plaintiff]” and “was negligent.” (ECF 1 at ¶ 245-246)

       When a complaint is “unclear how each defendant is supposed to have participated” in

the alleged conduct…it violates Rule 8(a). Griffin v. Milwaukee Cty., 369 F.App’x 741, 743 (7th

Cir. 2010) (non-precedential disposition); see also Srivastava v. Daniels, 409 F. App’x 953, 955

(7th Cir. 2011) (affirming dismissal of complaint because it was impossible to determine whether

any claims had merit.). Plaintiff’s claims against Defendant Nurse McGladdery do not identify

any actual nursing care that is alleged to have been negligent. Defendant McGladdery should not

be required to guess at what he is alleged to have done improperly in order to defend himself in

this case. Defendant McGladdery therefore requests this Court find, as in Hudsen, that Counts

IV and X of Plaintiff’s Complaint fail to comply with Rule 8 and should therefore be dismissed.

           b. Count X of Plaintiff’s Complaint Fails to Comply with Section 2-622 of the
              Illinois Code of Civil Procedure and Should Be Dismissed.

       Even if this Court finds, arguendo, that Counts IV and X of Plaintiff’s Second Amended

Complaint complies with F.R.C.P Rule 8, Plaintiff’s pleadings in Count X set forth allegations of

negligent medical care against Defendants, and dismissal of Count X is still proper. Section 2-

622 of the Illinois Code of Civil Procedure requires a plaintiff in any action for medical or

healing art malpractice to attach to his complaint an affidavit confirming that the case has been

presented to a health care professional and that the plaintiff has received a written report stating

that a meritorious claim exists. See 735 ILCS 5/2-622; Landstrom v. Illinois Dept. of Children &

Family Services, 699 F.Supp. 1270, 1282 (N.D. Ill.1988). Failure to file this affidavit is cause for

dismissal. 735 ILCS 5/2-622(g). The statute is “designed to reduce the number of frivolous

lawsuits that are filed and to eliminate such actions at an early stage.” Cuthbertson v. Axelrod,

669 N.E.2d 601, 605-606 (Ill.App.Ct. 1996).

                                                 4
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 5 of 8 PageID #:201




       Section 2-622 has been widely recognized within the Seventh Circuit as a substantive

provision of Illinois law which should be applied to claims brought in the federal courts. See

e.g., Baumann v. American Nat'l Red Cross, 262 F.Supp.2d 965, 966 (CD.Ill.2003); Landstrom,

699 F.Supp.1270, 1282; Sherrod v. Lingle, 223 F.3d 605 (7th Cir. 2000) (Section 2-622 is a

substantive law which should apply to medical malpractice claims in federal courts).

       Plaintiff concedes in Count X of his Complaint that he is bringing a medical malpractice

negligence claim both by virtue of the count’s title of “Medical Malpractice, Negligence Against

Defendant Nurse Mitchell McGladdery,” and his attachment of a physician report allegedly

submitted pursuant to section 2-622. (ECF 1-5)

       Section 2-622 was enacted to minimize the number of frivolous medical malpractice

lawsuits that are filed and to eliminate those actions at the early stages of litigation. Hull v. So.

Ill. Hosp. Serv., 356 Ill.App.3d 300, 304, 826 N.E.2d 930 (5th Dist. 2005); see Apa v. Rotman,

288 Ill.App.3d 585, 589, 680 N.E.2d 801 (1997). In order to satisfy section 2-622(a)(1), a

plaintiff must attach “a written report, clearly identifying the plaintiff and the reasons for the

reviewing health professional’s determination that a reasonable and meritorious cause for the

filing of the action exists.” 735 ILCS 5/2-622(a)(1) (emphasis added). The report must clearly

identify the reasons for the health professional’s determination that there is a meritorious cause

of action. Peterson v. Hinsdale Hosp., 233 Ill.App.3d 327, 331, 599 N.E.2d 84 (1992).

       In Premo v. Falcone, the physician’s report stated that the reasons for his determination

that a meritorious cause of action existed were the defendants’ “inappropriate interpretation of

clinical evidence of fetal stress and distress during labor” and the defendants’ “inappropriate

actions…to intervene and to provide appropriate medical care and treatment.” 197 Ill. App. 3d

625, 632, 554 N.E.2d 1071, 144 Ill. Dec. 32 (2d Dist. 1990). The court in Premo held that



                                                 5
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 6 of 8 PageID #:202




because the report never discussed what the appropriate actions were, it failed to adequately state

a basis for the physician’s determination that there was a reasonable and meritorious cause to file

an action against the defendants. Premo, 197 Ill. App. 3d at 632.

       Similarly, in Batten v. Retz, the physician’s report stated a meritorious cause of action

existed because the defendants "failed to order appropriate diagnostic tests and timely consult

with a gastroenterologist prior to surgical intervention," "failed to recommend and perform

appropriate diagnostic tests to rule out common bile duct obstructions," and "failed to follow

standard practices and procedures in the Plaintiffs’ decedent's postoperative management of her

T-tube drain;” and that defendants' various departures from acceptable medical care caused or

contributed to the decedent’s untimely death. 182 Ill. App. 3d 425, 428, 538 N.E.2d 179, 130 Ill.

Dec. 968 (3d Dist. 1989). The Batten court noted that the report was “clearly insufficient” and

failed to explain the basis for the physician's conclusion that a reasonable and meritorious cause

for filing the complaint existed. Batten, 182 Ill. App. 3d at 429-30.

       Likewise, in Moss v. Gibbons, Plaintiff’s 2-622 report was found to be deficient where it

failed to identify reasons for the reviewing health professional’s that there was a meritorious

cause of action. Moss v. Everett Gibbons, et al., 180 Ill. App. 3d 632, 638 (4th Dist. 1989).

Specifically, the Court in Moss found the report to be insufficient where it did not identify the

involvement of each defendant or the treatment provided by each defendant, including a hospital

entity, and therefore failed to identify the reasons for the meritoriousness determination. In so

finding, the Court noted, “A generalized conclusion of medical malpractice cannot support the

meritoriousness determination.” Id.

       Count IV of Plaintiff’s Complaint states only that McGladdery “failed to conform to

basic standards of medical care,” made treatment decisions that “were a substantial departure



                                                 6
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 7 of 8 PageID #:203




from accepted professional judgment, practice, and standards,” “persisted in a court of treatment

known to be ineffective,” and “chose easier and less efficacious treatments without exercising

sound professional judgment.” (ECF 1 at ¶ 189-192) Count X of Plaintiff’s Complaint alleges

only that Defendant McGladdery “breached her [sic] duty to provide reasonable care to

[Plaintiff]” and “was negligent.” (ECF 1 at ¶ 245-246)

       Plaintiff’s physician report against McGladdery sets forth multiple vague criticisms of

his care, including, inter alia, that he failed to “thoroughly assess and reassess,” “failed to

communicate,” failed to ensure staff were aware of “changes” to his physical state, and failed to

“appropriately document” the status of Plaintiff’s wound. (ECF 1-5) This report fails to satisfy

the standards for specificity espoused in Premo and Batten.

       Under the holdings in Batten and Premo, a section 2-622 report must set forth generally

the elements of a medical negligence claim: what the provider was supposed to do (what the

standard of care required); how the care provided failed to comply with that standard of care; and

that those deviations proximately caused some identified injury to the patient. Despite offering

vague criticisms of Nurse McGladdery in the report, however, there is no indication what

McGladdery should have done to appropriately care for Plaintiff. There is no identification of

what “risks” McGladdery failed to assess, what communication was required to have been done

but was not, what “changes” in Plaintiff’s condition should have been reported to staff members

and when, or how McGladdery’s documentation was purportedly insufficient.

       Filing a physician report that essentially says that a nurse “failed to assess, observe, or

communicate” is improperly vague and insufficient to satisfy the requirements of section 2-622

as they have been consistently interpreted by Illinois courts. As in Premo and Batten, the

physician certificate of merit submitted by Plaintiff does not identify, inter alia, the allegedly



                                                7
    Case: 1:25-cv-01772 Document #: 34 Filed: 04/18/25 Page 8 of 8 PageID #:204




appropriate assessment methods or therapies that should have been implemented, nor does it

identify what constituted a “change” in Plaintiff’s condition that needed to be communicated, or

what documentation would have been appropriate. Plaintiff’s report therefore fails to adequately

state a basis for his physician’s determination that a reasonable and meritorious cause to file an

action against Defendant McGladdery and dismissal of Count X of Plaintiff’s Complaint is

required. See Hull, 356 Ill. App. 3d at 305; Moyer, 327 Ill. App. 3d at 901; Premo, 197 Ill. App.

3d at 632, Batten, 182 Ill. App. 3d at 429-30.

       WHEREFORE, for the above and foregoing reasons, Defendant Mitchell McGladdery

respectfully requests this Honorable Court enter judgment in her favor as to Counts IV and X of

Plaintiff’s Complaint and deny any and all relief requested by Plaintiff in this matter.


                                                      Respectfully submitted,

                                                      AMUNDSEN DAVIS, LLC


                                                      By:    /s/ Jennifer K. Stuart__________
                                                             One of the Attorneys for
                                                             Defendant Mitchell McGladdery, RN


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